Case 5:20-cv-01512-ODW-SP Document 20 Filed 10/30/20 Page 1 of 2 Page ID #:59


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  5   Attorneys for Plaintiff
      JAMES RUTHERFORD
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  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
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           JAMES RUTHERFORD, an             Case No.: 5:20-cv-01512-ODW-SP
11         individual,
12                                          Hon. Otis D. Wright, II
           Plaintiff,
13                                          NOTICE OF VOLUNTARY
14         v.                               DISMISSAL WITH PREJUDICE
                                            PURSUANT TO FEDERAL RULE OF
15         GRAND PACIFIC 9-5, LLC, a        CIVIL PROCEDURE 41(a)(1)(A)(i)
16         California limited liability
           company; and DOES 1-10,          Complaint Filed: July 28, 2020
17         inclusive,                       Trial Date: None
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           Defendants.
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                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 5:20-cv-01512-ODW-SP Document 20 Filed 10/30/20 Page 2 of 2 Page ID #:60

  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  3   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
  4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
  5   Each party shall bear his or its own costs and attorneys’ expenses.
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  7                                          Respectfully submitted,
  8
  9    DATED : October 30, 2020              MANNING LAW, APC

10                                           By: /s/ Joseph R. Manning, Jr.
                                               Joseph R. Manning, Jr.
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                                               Attorney for Plaintiff
12                                             James Rutherford
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                     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
